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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION


  UNITED STATES OF AMERICA

  -vs-                                                       Case No. 8:04-CR-164-T-30EAJ

  WILMER GUZMAN,

       Defendant.
  ____________________________/

                                              ORDER

         Before the Court is Defendant Guzman’s Motion to Request Transcripts and All

  Documents, Applications and Motions (Dkt. 44). Defendant has not been found to be

  indigent. See 18 U.S.C. 3006A.

         Represented by privately retained counsel, see Dkt. 5, Defendant entered a guilty plea

  to the charge of conspiracy to possess with the intent to distribute five (5) kilograms or more

  of a mixture or substance containing a detectable amount of cocaine, in violation of 21 U.S.C.

  841(b)(1)(A)(ii)(II) and 846, on June 2, 2004 (Dkt. 27), pursuant to a written plea agreement

  (Dkt. 26). He was sentenced on September 10, 2004, to a 121-month term of imprisonment,

  to be followed by a 5-year term of supervised release (Dkt. 38). One consequence of

  Petitioner’s plea agreement is his waiver of the right to appeal his sentence,

         directly or collaterally, on any ground, including the applicability of the “safety
         valve” provisions contained in 18 U.S.C. § 3553(f) and U.S.S.G. § 5CI.2, except
         for an upward departure by the sentencing judge, a sentence above the statutory
         maximum, or a sentence in violation of the law apart from the sentencing
         guidelines; provided, however, that if the government exercises its right to appeal
         the sentence imposed, as authorized by 18 U.S.C. § 3742(b), the defendant is
         released from this waiver and may appeal the sentence as authorized by 18
         U.S.C. § 3742(a).
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  Dkt. 26 at 7.

        In his motion, Defendant asks the Court to “waive the fees” and provide him copies of

  “his transcript and any and all pertinent information concerning his case” so he can begin

  researching issues to be raised in an appeal of his conviction. Defendant states that he

  requested copies of these documents from trial counsel and “received evasive answers.”1

      The right of appeal is a creature of statute, 28 U.S.C. § 1291, rather than a right

  guaranteed by the Constitution. See Abney v. United States, 431 U.S. 651, 656 (1977). The

  right may be waived by not filing a timely notice as required by the Federal Rules of Appellate

  Procedure. See United States v. Holmes, 680 F.2d 1372, 1373-74 (11th Cir. 1982). Rule

  4(b), Fed. R. App. P., provides, in pertinent part, that a notice of appeal in a criminal case

  must be filed "within 10 days after entry of the judgment or order appealed from." Thus,

  Defendant’s notice of appeal was due to be filed on or before September 20, 2004. See

  Fed. R. App. P. 3(a)2 and 4(b)(1)(A); see also United States v. Rothseiden, 680 F.2d 96, 97

  (11th Cir. 1982) (finding that "the entry in the criminal docket of the judgment or order

  appealed from" triggers the period for filing a notice of appeal). Clearly, Defendant failed to

  perfect an appeal of the order by filing the notice required by Fed. R. App. P. 3(a) and

  4(b)(1)(A) within the allotted time.



           1
             As discussed above, in his plea agreement, Defendant waived his right to appeal his sentence,
   directly or collaterally, on any ground except for an upward departure by the sentencing judge, a sentence
   above the statutory maximum, or a sentence in violation of the law apart from the sentencing guidelines (Dkt.
   51 ¶ 4). Given this express waiver, since the Government did not file an appeal and the Court, in sentencing
   Defendant, did not depart upward, sentence him above the statutory maximum, or sentence him in violation
   of the law apart from the sentencing guidelines, Defendant has waived his right to challenge his conviction.
   See United States v. Bushert, 997 F.2d 1343 (11th Cir. 1993), cert. denied, 513 U.S. 1051 (1994) (court will
   enforce waivers of appeal if made knowingly and voluntarily); Williams v. United States, 396 F.2d 1340, 1342
   (11th Cir. 2005) (enforcing petitioner’s sentence appeal waiver in a § 2255 proceeding).
           2
             “An appeal permitted by law as of right from a district court to a court of appeals may be taken
   only by filing a notice of appeal with the district clerk within the time allowed by Rule 4.” Fed. R. App. P. 3(a).

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       The timely filing of a notice of appeal is “mandatory and jurisdictional.” See United

  States v. Robinson, 361 U.S. 220, 229 (1960); United States v. Whitaker, 722 F.2d 1533,

  1534 (11th Cir. 1984) (finding that “failure to file a timely notice of appeal leaves the appellate

  court without jurisdiction.”) (citation omitted). In some cases, the procedural bar which

  results from the application of Fed. R. App. P. 4(b)(1) may be overcome if the circumstances

  which caused the untimeliness of the notice of appeal are due to excusable neglect or good

  cause set forth in a timely motion for extension of time. See Fed. R. App. P. 4(b)(4) (“Upon

  a finding of excusable neglect or good cause, the district court may -- before or after the time

  has expired, with or without motion and notice -- extend the time to file a notice of appeal for

  a period not to exceed 30 days from the expiration of the time otherwise prescribed by this

  Rule 4(b).”).

       A jurisdictional defect occurs when, as in the instant case, the appeal has not been

  noticed until more than 40 days after the date of the original judgment. Because there is

  nothing either this Court or the court of appeals can do to extend the time for filing a notice

  of appeal, see United States v. June, 503 F.2d 442, 443-44 (8th Cir. 1974), there is no

  reason for a finding of excusable neglect or good cause. Under these circumstances, it would

  be futile to grant Defendant’s request or documents.

       The only avenue of post-conviction relief which may remain available to Defendant is

  a motion to vacate, set aside, or correct sentence pursuant to 28 U.S.C. § 2255. A § 2255

  motion must be filed within one year of the date on which the conviction becomes final.

  Since Defendant did not file an appeal, his conviction became final on September 20, 2004.

  In the event Defendant decides to file a § 2255 motion, he is cautioned that to be considered

  timely, his § 2255 motion must be filed on or before September 20, 2005. See 28 U.S.C. §


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  2255 ¶ 6. See also Adams v. United States, 173 F.3d 1339, 1343 n.2 (11th Cir. 1999) (citing

  Kapral v. United States, 166 F.3d 565, 577 (3d Cir. 1999) (“If a defendant does not pursue

  a timely direct appeal to the court of appeals, his or her conviction and sentence become

  final, and the statute of limitation begins to run, on the date on which the time for filing such

  an appeal expired.”)).

       Finally, because no appeal was taken, transcripts of the proceedings in this case have

  not been prepared. Defendant may contact the Clerk to obtain information regarding the

  preparation of transcripts at his expense. In the event Defendant is unable to secure said

  transcripts and determines that he needs them to prepare his § 2255 motion, he must

  provide the Court with a detailed indication of the issues to be raised in his § 2255 motion

  and demonstrate that preparation of the motion necessitates the requested transcripts.

  Furthermore, in order to qualify for transcripts at the government's expense, Defendant must

  complete and return the attached Forms CJA 23 (Financial Affidavit) and CJA 24

  (Authorization and Voucher for Payment of Transcript). Defendant is further cautioned

  that filing a motion for transcripts does not toll the limitations period. See Woodford v.

  Garceau, 538 U.S. 202 (2003) (holding that a petition for federal habeas relief is not

  "pending" until a federal court is presented with a habeas application seeking an adjudication

  on the merits of the prisoner's claims). He should conduct himself accordingly.

       UPON consideration, the Court ORDERS that:

       1.       Defendant's Motion to Request Transcripts and All Documents, Applications

                and Motions (Dkt. 44) is DENIED.

       2.       The Clerk is directed to forward CJA Forms 23 and 24 to Defendant with his

                copy of this order.


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        DONE and ORDERED in Tampa, Florida on May 4, 2005.




 Copies furnished to:
 Pro se Defendant
 Counsel of Record


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